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                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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10          A.B., by and through her next friend             CASE NO. C14-1178 MJP
            CASSIE CORDELL TRUEBLOOD, et
11          al.,                                             MINUTE ORDER

12                                 Plaintiffs,

13                  v.

14          WASHINGTON STATE
            DEPARTMENT OF SOCIAL AND
15          HEALTH SERVICES, et al.,

16                                 Defendants.

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19          The following minute order is made by the direction of the court, the Honorable Marsha

20   J. Pechman, United States Senior District Judge:

21          In addition to the topics outlined in the Order to Show Cause (Dkt. No. 1038), the Court

22   would like the Parties to brief whether, notwithstanding the pending appeal, the Court and the

23   Court Monitor have jurisdiction over the matters ordered in Paragraph 33(i) and 33(j) of the

24   Breach and Contempt Order (Dkt. No. 1009 at 51)). The Parties must address this issue in their


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 1   responses to the Order to Show Cause. Responses to this issue are in addition to, and not in lieu

 2   of, the responses that remain due under the Order to Show Cause.

 3          The clerk is ordered to provide copies of this order to all counsel.

 4          Filed August 16, 2023.

 5
                                                    Ravi Subramanian
 6                                                  Clerk of Court

 7                                                   s/Serge Bodnarchuk
                                                     Deputy Clerk
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     MINUTE ORDER - 2
